Case 22-60020 Document 38-8 Filed in TXSB on 04/27/22 Palga in dhe ESineLe out
Eoun y, Texas

AR APR 01 2022
D-1-GN-18-001605 Velva L. Price, District Clerk

MARCEL FONTAINE, § IN DISTRICT COURT OF
Plaintiff §
§

VS. § TRAVIS COUNTY, TEXAS
§
ALEX E. JONES, INFOWARS, LLC, §

FREE SPEECH SYSTEMS, LLC, and § 459th DISTRICT COURT
KIT DANIELS, §
Defendants §

ORDER ON PLAINTIFF’S MOTION FOR SANCTIONS REGARDING EVIDENCE
TAMPERING

On this day, the Court considered Plaintiffs’ Motion for Sanctions concerning evidence
tampering. The Court finds that Defendants willfully concealed and fabricated evidence to
avoid their obligations under this Court’s discovery orders. Defendants’ willful obstruction
is greatly aggravated by Defendants’ longstanding refusal to participate in discovery in good
faith.

The Court therefore ORDERS that sanctions be assessed Defendants, including the
following remedies allowed under Rule 215:

“ an order charging all of the expenses of discovery or taxable court costs

against the Defendants, (elotid to Wis requst anh nis mot1m

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disputes of-factover the history of demands for COPPEEEHOITTO Ferytass shall he taken ~AS

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established ’intavor or tire'Plaintiff.
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i Defendants shall pay a punitive monetary sanction of $ 29 {000
within 30 days of this order.

Defendant shall also pay reasonable costs and expenses relating to Plaintiff's Motion.
Plaintiff is ordered to submit an itemization of his costs and expenses to Defendants. If
Defendants cannot agree to the amount, Plaintiff shall submit evidence to the Court of the

reasonable value of his costs and expenses.

Giverrtire pravity-ofthe-miseerdiet-the-ECuult 1s also referring this matter to the

Fravis County District Attorney anc tie-Genera-Counsel of the State Bar of Texas,

Dated | Vials 3 , 2022.

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